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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                        :
                                                :
      v.                                        :      CRIMINAL ACTION NO. 21-65
                                                :
JOHN DOUGHERTY et al.                           :


                                            ORDER

      AND NOW, this 5th day of January, 2023, upon consideration of Mr. Alan J. Tauber’s

forthcoming representation of Defendant John Dougherty in United States v. John Dougherty

et al., Case No. 19-cr-64, and pursuant to the financial affidavit filed by Mr. Dougherty in that

case, the Court makes the following findings:

            1. Mr. Dougherty may be “financially unable to obtain counsel” and therefore would

               be eligible for the appointment of counsel under the Criminal Justice Act, see

               18 U.S.C. § 3006A(b); 7A Guide to Judiciary Policy § 210.40.30;

            2. Accordingly, Mr. Tauber is hereby appointed to represent Mr. Dougherty in the

               above-captioned case; and

            3. Because Mr. Dougherty has already been ordered to make payments towards his

               representation in United States v. John Dougherty et al., Case No. 19-cr-64, Mr.

               Dougherty is not required to make additional payments in this case, subject to

               further order from this Court.

                                                    BY THE COURT:



                                                     /s/ Jeffrey L. Schmehl
                                                    JEFFREY L. SCHMEHL, J.
